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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                            CASE NO.: 23-61203-CIV-SINGHAL

   THE SMILEY COMPANY SPRL,

         Plaintiff,

   v.

   THE INDIVIDUALS, PARTNERSHIPS AND
   UNINCORPORATED ASSOCIATIONS
   IDENTIFIED ON SCHEDULE “A,”
                                                     /
         Defendants.


           ORDER AUTHORIZING ALTERNATE SERVICE OF PROCESS ON
         DEFENDANTS UNDER FEDERAL RULE OF CIVIL PROCEDURE 4(f)(3)

        THIS CAUSE is before the Court on Plaintiff’s Ex Parte Motion for Order

  Authorizing Alternate Service of Process on Defendants Pursuant to Federal Rule of Civil

  Procedure 4(f)(3) (DE [8]).

        Plaintiff seeks an order granting alternate service of process on the Defendants,

  the Individuals, Partnerships, and Unincorporated Associations Identified in Schedule “A”

  attached to the Complaint (collectively “Defendants”), all of which, upon information and

  belief, are residing and/or operating outside of the United States. Plaintiff alleges that

  Defendants have established Internet-based businesses and utilize electronic means as

  reliable forms of contact. Therefore, Plaintiff seeks to serve Defendants by both e-mail

  and website posting. For the reasons discussed below, the Court grants the Motion.

        Federal Rules of Civil Procedure 4(h)(2) defines the contours of service on foreign

  corporations and incorporates the service methods set forth for individuals in Rule 4(f).

  Rule 4(f)(3), in turn, provides that service may be accomplished “by other means not
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  prohibited by international agreement, as the court orders.” Fed. R. Civ. P. 4(f)(3).

  Alternate methods of service under Rule 4(f)(3) are available without first attempting

  service by other means. Rio Props., Inc. v. Rio Int’l Interlink, 284 F.3d 1007, 1015 (9th

  Cir. 2002); see also De Gazelle Grp., Inc. v. Tamaz Trading Establishment, 817 F.3d 747,

  750 (11th Cir. 2016) (“If a party cannot, or chooses not to, serve a defendant abroad using

  one of the methods specified in Rule 4(f)(1) and (2), the party may accomplish service ‘by

  other means not prohibited by international agreement, as the court orders.’” (quoting

  Fed. R. Civ. P. 4(f)(3)). “So especially in a circumstance where service upon a foreign

  corporation under Rule 4(f)(1) or 4(f)(2) has been cumbersome, district courts have broad

  discretion under Rule 4(f)(3) to authorize other methods of service that are consistent with

  due process and are not prohibited by international agreements.” Brookshire Bros., Ltd.

  v. Chiquita Brands Int’l, Inc., 2007 WL 1577771, at *2 (S.D. Fla. May 31, 2007) (citing

  Prewitt Enters., Inc. v. Org. of Petroleum Exporting Countries, 353 F.3d 916, 921, 927

  (11th Cir. 2003)).

         For the following reasons, the Court finds that alternate service of process under

  Rule 4(f)(3) is warranted. First, the Hague Convention does not specifically preclude

  service by e-mail and website posting. Where a signatory nation has objected to the

  alternate means of service provided by the Hague Convention, that objection is expressly

  limited to those means and does not represent an objection to other forms of service,

  such as e-mail or website posting. See Stat Med. Devices, Inc. v. HTL-Strefa, Inc., 2015

  WL 5320947, at *3 (S.D. Fla. Sept. 14, 2015) (noting that an objection to the alternate

  forms of service set forth in the Hague Convention on the Service Abroad of Judicial and

  Extrajudicial Documents in Civil or Commercial Matters, Nov. 15, 1965, 658 U.N.T.S. 16,




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  is limited to the specific forms of service objected to). A court acting under Rule 4(f)(3)

  therefore remains free to order alternate means of service where a signatory nation has

  not expressly objected to those means. See Gurung v. Malhotra, 279 F.R.D. 215, 219

  (S.D.N.Y. 2011). Accordingly, the requested service methods are not prohibited by

  international agreement.

         Second, Defendants have at least one known and valid form of electronic contact,

  and Plaintiff has created a website for the sole purpose of providing notice of this action

  to Defendants, the address to which will be provided to Defendants’ known e-mail

  accounts and onsite contact forms. Therefore, service via e-mail and through posting on

  a designated website is “reasonably calculated, under all the circumstances, to apprise

  [Defendants] of the pendency of the action and afford [them] an opportunity to present

  their objections.” See Brookshire Bros., Ltd., 2007 WL 1577771, at *1 (quoting Mullane v.

  Central Hanover Bank & Tr. Co., 339 U.S. 306, 314 (1950)). Thus, the Court will exercise

  its discretion to allow service on Defendants through e-mail and website posting.

  Accordingly, it is hereby

         ORDERED AND ADJUDGED as follows:

         1.     Plaintiff’s Ex Parte Motion for Order Authorizing Alternate Service of

                Process on Defendants Pursuant to Federal Rule of Civil Procedure 4(f)(3)

                (DE [8]), is GRANTED.

         2.     In accordance with Rule 4(f)(3), Plaintiff is permitted to serve the Summons,

                Complaint, and all pleadings, filings, and discovery on each Defendant:

                       a. by providing the address to Plaintiff’s designated serving notice

                          website to each Defendant via the e-mail accounts provided by




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                        that Defendant (i) as part of the data related to its domain name,

                        including customer service e-mail addresses and onsite contact

                        forms, or (ii) via the registrar of record for each of its domain

                        names for each of its websites operating under its Subject

                        Domain Name. See Schedule “A” attached to the Plaintiff’s

                        Complaint (DE [1]), which lists Defendants’ Seller IDs and

                        associated e-commerce marketplace platform; and

                     b. by publicly posting copies of the Summonses, Complaint, and all

                        pleadings, filings, and discovery on Plaintiff’s designating service

                        notice website appearing at:

                        https://www.dropbox.com/scl/fo/sefaaeo184kglzl5vndtb/h?dl=0&

                        rlkey=k6ihu9whudejodx2m10ride8d

        DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 29th day of

  June 2023.




  Copies furnished to counsel of record via CM/ECF




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